                 Case 2:20-mj-00336-MLP Document 41 Filed 07/21/20 Page 1 of 3

                                      Office of the Clerk
                     United States Court of Appeals for the Ninth Circuit
                                    Post Office Box 193939
                             San Francisco, California 94119-3939
                                         415-355-8000
Molly C. Dwyer
Clerk of Court                            July 21, 2020


       No.:         20-30154
       D.C. No.: 2:20-mj-00336-MLP-1
       Short Title: USA v. Margaret Channon


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Failure of the appellant to comply with the time schedule order may result in
       dismissal of the appeal.

       Please read the enclosed materials carefully.
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                  UNITED STATES COURT OF APPEALS
                                                                  FILED
                          FOR THE NINTH CIRCUIT
                                                                  JUL 21 2020
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                    No. 20-30154

              Plaintiff - Appellant,
                                              D.C. No. 2:20-mj-00336-MLP-1
   v.                                         U.S. District Court for Western
                                              Washington, Seattle
 MARGARET AISLIINN CHANNON,
                                              TIME SCHEDULE ORDER
              Defendant - Appellee.



The parties shall meet the following time schedule.

Tue., August 4, 2020          9a Memo/Motion Due

The Response shall be filed within 10 days of service of the 9a Memo/Motion. See
9th Cir. R. 9-1.1.

The Optional Reply may be filed within 7 days of service of the Response. See 9th
Cir. R. 9-1.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT

                                              By: Bradley Ybarreta
                                              Deputy Clerk
                                              Ninth Circuit Rule 27-7
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